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 1 PHILLIP A. TALBERT
   United States Attorney
 2 ROBERT ABENDROTH
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
                                                                     FILED
   Sacramento, CA 95814                                             Dec 30, 2024
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
                                                                 CLERK, U.S. DISTRICT COURT
                                                               EASTERN DISTRICT OF CALIFORNIA
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:23-CR-00271-DC

12                                Plaintiff,
                                                        [PROPOSED] ORDER TO FILE REDACTED
13                          v.                          COPY OF SUPERSEDING INDICTMENT

14   RONALD PAUL SEPULVEDA,

15                               Defendant.

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17

18          Having considered the government’s motion to unseal portions of the superseding indictment and

19 to file a redacted copy of the superseding indictment, for the reasons stated within the motion and for

20 good cause shown:
21          IT IS HEREBY ORDERED that government’s motion to unseal portions of the superseding

22 indictment and to file a redacted copy of the superseding indictment is GRANTED.

23          IT IS HEREBY FURTHER ORDERD that the government’s motion shall be filed and kept

24 under seal until further order of the Court.

25
      Dated: December ___,
                       30 2024
26                                                           HONORABLE CHI SOO KIM
                                                             United States Magistrate Judge
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